8:05-cr-00381-LSC-SMB       Doc # 114     Filed: 09/14/07     Page 1 of 1 - Page ID # 511




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR381
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ANGELA D. HARMS,                             )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion (Filing No. 106) to restrict

the filing of the brief in support of the Defendant’s motion for downward (Filing No. 108)

pursuant to the E-Government Act.

      IT IS ORDERED:

      1.     The Defendant’s motion (Filing No. 106) is granted; and

      2.     The brief in support of the Defendant’s motion for downward departure (Filing

             No. 108) shall be restricted pursuant to the E-Government Act.

      DATED this 14th day of September, 2007.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
